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            EXHIBIT A
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                                   General Civil and Domestic Relations Case Filing Information Form

                                        ☐ Superior or ☐ State Court of ______________________________
                                                             ■         DeKalb                         County

              For Clerk Use Only                                                                         21A04199
                              9/10/2021
              Date Filed _________________________                                Case Number _________________________
                                      MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      Harris, Javonne                                                                __________________________________________________
                                                                                     Peak, Jordan
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
                                                                                     Insituform Technologies, LLC
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix

      Plaintiff’s Attorney ________________________________________
                           Ryan M. Horn                                                  Bar Number __________________
                                                                                                     794788                    Self-Represented ☐

                                                                 Check One Case Type in One Box

              General Civil Cases                                                             Domestic Relations Cases
              ☐■
                          Automobile Tort                                                     ☐            Adoption
              ☐           Civil Appeal                                                        ☐            Dissolution/Divorce/Separate
              ☐           Contract                                                                         Maintenance
              ☐           Garnishment                                                         ☐            Family Violence Petition
              ☐           General Tort                                                        ☐            Paternity/Legitimation
              ☐           Habeas Corpus                                                       ☐            Support – IV-D
              ☐           Injunction/Mandamus/Other Writ                                      ☐            Support – Private (non-IV-D)
              ☐           Landlord/Tenant                                                     ☐            Other Domestic Relations
              ☐           Medical Malpractice Tort
              ☐           Product Liability Tort                                              Post-Judgment – Check One Case Type
              ☐           Real Property                                                       ☐   Contempt
              ☐           Restraining Petition                                                  ☐ Non-payment of child support,
              ☐           Other General Civil                                                      medical support, or alimony
                                                                                              ☐   Modification
                                                                                              ☐   Other/Administrative

      ☐       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
              of the same parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      ☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

      ☐       Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                        Language(s) Required

      ☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
              _________________________________________________________________________________________________________________________
              _________________________________________________________________________________________________________________________
                                                                                                                                                   STATE
                                                                                                                                                 Version     COURT OF
                                                                                                                                                         1.1.18
                                                                                                                                               DEKALB COUNTY, GA.
                                                                                                                                                    9/10/2021 9:42 AM
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                        Case 1:21-cv-04405-SDG Document 1-1 Filed 10/22/21 Page 4 of 65



                                    IN THE STATE COURT OF DEKALB COUNTY

                                                   STATE OF GEORGIA

             JAVONNE HARRIS,                                  )
                                                              )        CIVIL ACTION FILE NO.
                                    Plaintiff,                )                 21A04199
                                                              )
             vs.                                              )
                                                              )
             JORDAN PEAK and INSITUFORM                       )
             TECHNOLOGIES, LLC,                               )
                                                              )
                                    Defendants.               )

                                              COMPLAINT FOR DAMAGES

                    COMES NOW, Javonne Harris, Plaintiff in the above-styled action, by and through the

             undersigned counsel, Kenneth S. Nugent, P.C., and hereby file this, her Complaint (the

             “Complaint”) against Defendants Jordan Peak and Insituform Technologies, LLC, jointly and

             severally, , and shows this Honorable Court as follows:

                                                                  1.

                    Plaintiff Javonne Harris (“Plaintiff”) is a resident of the State of Georgia and is currently

             residing at 1318 Adcox Square, Stone Mountain, Georgia 30088. For purposes of the instant

             action, Plaintiff subjects herself to the jurisdiction and venue of this Court.

                                                                  2.

                    Defendant, Jordan Peak (“Defendant Peak”) is a resident of Lawrence County,

             Pennsylvania and subject to the jurisdiction of this Court pursuant to O.C.G.A. § 40-12-3 which

             states in pertinent part, “actions brought under this chapter relating to the use of the highways of

             this state by a nonresident motorist shall be brought in the county in which the accident or injury

             occurred or the cause of action originated, or in the county of the residence of the plaintiff, as the

             plaintiff in such action may elect...” Defendant Jordan Peak may be served with a copy of this



                                                                                                                  STATE COURT OF
                                                                                                               DEKALB COUNTY, GA.
                                                                                                                  9/10/2021 9:42 AM
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             Complaint and Summons at his residence, to-wit: 242 Fern Street, New Castle, Pennsylvania

             16101.

                                                               3.

                      Defendant Insituform Technologies, LLC (Defendant “Insituform”),              is a foreign

             corporation, having been incorporated under the laws of the State of Missour and having a

             registered agent in the State of Georgia. Service of a Second Original Summons and Complaint

             may be made on this Defendant by serving its registered agent, to wit: Corporation Service

             Company, 2 Sun Court, Suite 400, Peachtree Corners, Georgia 30092 and is subject to the

             jurisdiction and venue of this Court.

                                                               4.

                      Defendants Insituform, is the owner and operator of a business(es) which qualifies as either

             a motor common carrier or a motor contract carrier under the laws of the State of Georgia, and the

             tractor-trailer rig which was involved in the collision that is the subject matter of this case was

             being operated as such by Defendant Peak at all times herein described.

                                                               5.

                      At all times relevant hereto, Defendant Peak was an agent/employee of Defendant

             Insituform, operating under the authority of Defendant Insituform and acting within the scope and

             agency of his employment for Defendant Insituform.

                                                               6.

                      At all times relevant hereto, Defendant Peak was an employee of Defendant Insituform.




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                                                   SUMMARY OF FACTS

                                                                7.

                     On or about January 6, 2020, Defendant Peak, as an agent and/or employee of Defendant

             Insituform, was driving a vehicle on Whites Mill Road at or near its intersection with Habersham

             Drive in the County of DeKalb, State of Georgia.

                                                                8.

                     At all times relevant hereto, Plaintiff acted in a safe, reasonable, and prudent fashion.

                                                                9.

                     On or about said time and place, Defendant Peak was travelling directly in front of

             Plaintiff’s vehicle. Suddenly and without warning, Defendant Peak backed his vehicle into

             Plaintiff’s vehicle, causing damage to both vehicles and injuries to Plaintiff.

                                                               10.

                     At said time and place, Defendant Peak failed to act in the manner expected of a reasonable

             and prudent driver by improperly backing his vehicle and Defendant Peak was otherwise negligent

             in the operation of his vehicle.

                                                               11.

                     Defendant Peak was issued a citation by the DeKalb County Police Department for

             improper backing.

                                                               12.

                     As a direct and proximate result of the collision, Plaintiff sustained immediate and severe

             injuries to her neck, back, left shoulder, left arm, left wrist and left hand.

                                                               13.

                     Defendant Peak’s failure to obey traffic laws by improperly backing his vehicle constitutes

             a violation of O.C.G.A. § 40-6-240.




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                                                             14.

                    Because Defendant Peak violated O.C.G.A. § 40-6-240, Defendant Peak’s actions

             constitute negligence per se, as well as ordinary negligence.

                                                             15.

                    The aforesaid collision was not the result of any negligence on the part of Plaintiff or any

             person(s) other than Defendant Peak.

                                                             16.

                    At the time of the collision which is the subject-matter of this case, Defendant Peak was

             driving and operating a tractor-trailer rig which was owned by Defendant Insituform.

                                                             17.

                    Defendant Peak’s operation of Defendant Insituform’s vehicle was warranted under the

             express authority granted him by virtue of his agency and/or employment relationship with

             Defendant Insituform.

                                                             18.

                    When Defendant Peak committed the negligent acts described above, he was acting under

             the direction and control of Defendant Insituform and was acting within the scope of his

             employment and in furtherance of Defendant Insituform.

                                                             19.

                    The negligent acts committed by Defendant Peak were within the range of Defendant

             Peak’s employment and for the purpose of accomplishing the business authorized by Defendant

             Insituform.

                                                             20.

                    Defendant Insituform is therefore liable to the Plaintiff under the theory of Respondeat

             Superior, for the negligent acts and omissions of their agent and/or employee, Defendant Peak, as




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             such acts were committed in the course and scope of this agency and/or employment by Defendant

             Insituform and proximately caused the Plaintiff’s injuries.

                                                              21.

                    As a result of the injuries Plaintiff sustained in the collision, Plaintiff has incurred

             significant physical and mental pain and suffering as well as extensive costs, expenses and lost

             wages, all of which will be itemized by appropriate amendment to these pleadings.

                                                              22.

                    Defendant Peak and Defendant Insituform are therefore jointly and severally liable to

             Plaintiff for special and general damages in an amount to be proved by the evidence at trial.


                                              COUNT 1: NEGLIGENCE OF
                                              DEFENDANT JORDAN PEAK

                                                              23.

                    Plaintiffs re-allege and incorporate by reference the allegations set forth in paragraphs 1

             through 22 above as though fully set forth herein.

                                                              24.

                    The subject collision was caused by the negligence of Defendant Peak in one or more of

             the following respects:

                    a)       Defendant Peak failed to drive at a reasonable and prudent speed;

                    b)       Defendant Peak failed to obey the traffic laws in the State of Georgia;

                    c)       Defendant Peak failed to take evasive action to avoid the collision made the basis

                             of this claim;

                    d)       Defendant Peak drove his vehicle in reckless and/or careless disregard for the

                             safety of other drivers on the highway especially the Plaintiff herein; and




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                    e)       Defendant Peak failed to maintain control of his vehicle and failed to post a

                             proper lookout.

                                                             25.

                    Further, the actions of Defendant Peak constitute a direct violation of numerous statutes of

             the State of Georgia, with such violations constituting negligence-per-se or negligence as a matter

             of law. These statutory violations are:

                    O.C.G.A. § 40-6-390            Reckless driving;

                    O.C.G.A. § 40-6-241            Drivers to exercise due care; and

                    O.C.G.A. § 40-6-240            Improper backing.

                                                             26.

                    The above described acts of negligence and negligence per-se above caused the vehicle

             driven by Defendant Peak to collide with Plaintiff’s vehicle.

                                                             27.

                    Due to the collision between Defendant Peak’s vehicle and Plaintiff’s vehicle, Plaintiff

             suffered serious bodily injuries, incurred medical expenses, lost wages and endured physical and

             emotional pain and suffering, past, present, and future.

                                                             28.

                    The injuries and damages to Plaintiff were the direct and proximate result of Defendant

             Peak and Defendant Insituform’s failure to exercise ordinary care and regard for the safety of

             others when Defendant Insituform negligently entrusted their vehicle to Defendant Peak, who

             committed tort.




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                                                               29.

                       All Defendants herein are therefore jointly and severally liable to Plaintiff for general

             damages in an amount to be proven by the evidence at trial.

                                                COUNT II: NEGLIGENCE OF
                                                DEFENDANT INSITUFORM

                                                               30.

                       Plaintiff re-alleges and incorporates by reference the allegations set forth in paragraphs 1

             through 29 above as though fully set forth herein.

                                                               31.

                       The collision occurred as a direct and proximate result of Defendant Insituform’s negligent

             entrustment of their vehicle to Defendant Peak, in allowing Defendant Peak to drive its vehicle in

             a negligent manner, and in doing so failed to exercise ordinary care and regard for the safety of

             others.

                                                               32.

                       The negligence was caused in whole or in part by the negligence and negligence-per-se of

             Defendant Peak in one or more of the following respects:

                       a)     Defendant Insituform allowed Defendant Peak to drive its vehicle in a reckless

                              and dangerous manner;

                       b)     Defendant Insituform allowed Defendant Peak to drive its vehicle knowing

                              Defendant Peak was not a competent driver;

                       c)     Defendant Insituform knew or should have known that Defendant Peak posed a

                              risk to others;

                       d)     Defendant Insituform knew or should have known that Defendant Peak would drive

                              its vehicle in a dangerous and reckless manner.




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                                                             33.

                    All Defendants herein are therefore jointly and severally liable to Plaintiff for general

             damages in an amount to be proven by the evidence at trial.

                                        COUNT III: INJURIES TO PLAINTIFF

                                                             34.

                    Plaintiff re-alleges and incorporates by reference the allegations as set forth in paragraphs

             1 through 33 above as though fully set forth herein.

                                                             35.

                    As a direct and proximate result of the actions of the Defendants herein, Plaintiff sustained:

                    a)      Various bodily injuries, including but not limited: cervical and thoracic pain and

                            spasm; left arm pain; left hand numbness and pain; left shoulder and wrist pain;

                            cervicalgia, posterior disc protrusion at C3-C4; acute post-traumatic headache;

                            cervical disc disorder with radiculopathy; cervicalgia and low back pain.

                    b)      Past, present and future mental and physical pain and suffering, disruption of

                            normal life and diminution in the enjoyment of life;

                    c)      Past, present and future medical expenses; and

                    d)      Incidental expenses.

                                                             36.

                    Plaintiff has incurred the following special damages:

                    Momentum Rehab & Therapy               01/06/2020 -    02/19/2020     $ 1,565.00
                    Radiology Associates of DeKalb         01/08/2020 -    01/8/2020      $    121.00
                    CEP America                            01/08/2020 -    01/08/2020     $    684.00
                    Emory Decatur Hospital                 01/08/2020 -    01/08/2020     $ 3,217.10
                    Ortho Sport & Spine Physicians         01/21/2020 -    02/06/2020     $ 6,431.90
                    Georgia Spine & Orthopaedics           02/25/2020 -    07/01/2020     $ 75,005.74
                    Atlanta Orthopaedic Imaging            03/13/2020 -    08/21/2020     $ 3,790.00
                    Surgery Center of Roswell              07/01/2020 -    07/01/2020     $ 25,902.00




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                     Pavilion Spine Surgery Center/
                     Center for Pain Management              09/23/2020 - 10/14/2020      $ 29,400.00
                     Neurological Institute Concussion       03/19/2020 - 11/12/2020      $ 4,700.00

                     Ortho Sport & Spine Surgical Estimate                                $ 69,200.00

                     Lost Wages                                                           $    2,622.57

                                             TOTAL SPECIAL DAMAGES                        $ 222,639.31

                     The bills for the above referenced charges are attached hereto as Exhibit “A’.

                                                                37.

                     The charges for the above referenced bills are reasonable and customary for the treatment

             that Plaintiff received.

                                                                38.

                     The above referenced charges were necessary to treat the injuries Plaintiff suffered as a

             result of this accident.

                                                                39.

                     Defendants are therefore liable to Plaintiff for past and future special damages, currently

             in the amount of $222,639.31.

                                                                40.

                     Defendants herein are therefore jointly and severally liable to Plaintiff for general damages

             in an amount to be proven by the evidence at trial.

                     WHEREFORE, Plaintiff prays and respectfully demands that he have judgment against

             Defendants Peak and Insituform, jointly and severally, as follows:

                     a)      that process be served upon all Defendants in accordance with the law;

                     b)      that a jury trial be had on all issues;

                     c)      for general damages in an amount to be determined by the enlightened conscience

                             of an impartial jury;




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                    d)     that judgment be awarded for Plaintiff against Defendants for those special

                           damages proven at trial;

                    e)     for costs and expenses of this litigation; and

                    f)     for any and all other and further relief that this Court deems just and proper under

                           the circumstances.

                    This 10th day of September, 2021.

                                                                  Respectfully submitted,

                                                                  KENNETH S. NUGENT, P.C.

                                                                     /s/ Ryan M. Horn
                                                                  Ryan M. Horn
             4227 Pleasant Hill Road                              Georgia Bar No. 794788
             Building 11                                          Jan P. Cohen
             Duluth, Georgia 30096                                Georgia Bar No. 174337
             T: (770) 495-6688                                    Attorneys for Plaintiff
             F: (770) 495-6787
             rhorn@attorneykennugent.com
             jcohen@attorneykennugent.com




                                                                      STATE COURT OF
                                                                      DEKALB COUNTY, GA.
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   ' S/12/2020                                                                                                   _
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                                                                          Momentum Rehob & Therapy
                                                                          5349 Snapflnger Woods Dr
                                                                              Decatur, GA 3003 S
                                                                                                             .
                                                                             Tax ID: 834687459

                                                                                  Patient Account Ledger
                                                                                                                                                          -
                                                                                                                                     Phone: ( 470) 375 7345
                                                                                                                                      5/12/ 2020 3 : 51:26 PM
       Harris, lavonne ( 03/05/ 1985, IDM6933 S 7)


                .
        D .O S.: 01/ 06/ 2020                                                                  Gates, Jerry (NPI:
                                                                                   Provider;                                     Copay: 50.00
                                                                                               1447886320)
                        Item                                             Date                  Description                 Transaction Balance Notes
       C                9701Q ( S 23.41XA, S46.812A, M 25.512, M54.2) 1/ 6/ 2020               HOT/ COLD PACK              $ 35,00     $35,00
       C                                                              ,
                        97012{ S 23.41XA, S 46.812A, M 25.512 M54.2) 1/ 6 / 2020               MECHANICAL TRACTION         $40 , 00    $ 75,00
       C                                                      .
                        97014 ( 223.41XA, S 46.812 A, M 25 S 12, M 54.2) 1/ 6 / 2020           EMS                         $40.00      $ 115.00
       C                99203( 223.41XA, S46.812A, M 25.512, M 54.2) 1/6/ 2020                 NEW PATIENT EXAM: 30 MIN    $300.00     $ 415.00
       c                A 45 SG( 223.41XA, S46.812A, M 25.512, MS 4.2) 1/ 6/ 2020              ELECTRODES, PAIR            $15.00      $ 430, 00


                                                                                               Gates, Jerry ( NPI:
                    .
        D.O .S ; 01/ 07/ 2020                                                      Provider; 1447886320)                    Copay: $0.00       '


                        Item                                                        Date       Description               Transaction Balance           Notes
        C               97010( S 23 ,41XA, S46.812A, M 25.512, M 54.2) 1/ 7/ 2020              HOT/COLD PACK             $35.00       $ 35.00
        C                                                     . ,
                        97012( 223.41XA, S46.812A, M 2S 512 M 54.2) 1/ 7/2020                  MECHANICAL TRACTION       $40,00       $ 75,00
        C               97014( 223.41XA, S 46.812A, M 25.512, M 54.2 ) 1/ 7/ 2020              EMS                       $40.00       $ 115.00
        C               98940(523 ,41XA, S46.812A, M 25.512, M54.2) 1/ 7/ 2020                           -
                                                                                               CMT 1 2 REGIONS           $80.00       $ 195.00

                                                                                               Gates, Jerry (NPI;
            . . .
        D O S : 01/ 10/ 2020                                                        Provider:
                                                                                              1447886320)
                                                                                                                             Copay; $ 0.00
                        Item                                          Date                     Description               Transaction Balance           Notes
        C               97010(S23.41XA, S 46.812A, M 25.512, M 54.2) 1/10/ 2020                HOT/ COLD PACK            $ 35.00     $ 35.00
        c                                ,
                        97012(S 23.41XA S 46.812A, M 25.512, 1454,2) 1/ 10/ 2020               MECHANICAL TRACTION       $40.00      $75.00
        C                                ,
                        97014( 523 , 41XA S46.812A, M 25.512, M 54.2) 1/ 10/ 2020              EMS                       $40.00      $ 115.00


                                                                                               Gates, Jerry ( NPI :
            ...
        D O S ; 01/ 14 / 2020                                                       Provider ; 1447886320)                   Copay; $ 0.00
                        Item                                                        Date       Description               Transaction Balance           Notes
        C               97010(523.41XA, S46.812A, M 25.512, M54.2 ) 1/ 14 / 2020               HOT/ COLD PACK            $ 35.00     $ 35.00 :
        c               97012(523.41XA, S46.812 A, M 25.512, M54.2) 1/ 14/ 2020                MECHANICAL TRACTION       $ 40.00     $75 , 00'
        C                                                                     .
                        97014(523.41XA, S46.812A, M 25.512, M 54 Z ) 1/ 14/2020                EMS                       $ 40 , 00   $ 115.00
        C               98940( 523.41XA, S46.812A, M 25.512, M 54.2 ) 1/ 14 / 2020                       -
                                                                                               CMT 1 2 REGIONS           $ 80.00     $195.00

                                                                                              Gates, Jerry ( NPI:
            . .     .
        D O S : 01/ 15/ 2020                                                        Provider: 1447886320)                    Copay: $0.00
                                                                                                                                                   1

                        Item                                          Date                     Description               Transaction Balance           Notes
                                                              .
                                                                                               [

        C               97010(523.41XA, S 46.812A, M25 S12, MS4.2) 1/ 15/ 2020                 HOT/ COLD PACK            $ 35.00     $35.00 .
        c               97012 (523.41XA, S46.812A , M 25.512, MS 4.2) 1/ 15/ 2020              MECHANICAL TRACTION       $ 40.00     $75 , 00
        c               97014( 323.41XA, S 46.812A, M 25.512, M 54.2) 1/1S/ 2020                   EMS                   $ 40 ,00          .
                                                                                                                                     $115 Op


            .       .
        D O.S i 02 / 17 / 2020                                                      Provider: Gates, Jerry (NPI: 14478863:20)     Copay: $0 , 00
                        Item                                         Date                     Description                     Transaction Balance Notes
        C               97010(523.41XA, S 46.812A, M 25; 512, M54.2) 2/ 17/ 2020              HOT/ COLD PACK                  $35.00      $35.00
        c               97012(323 ,41XA, S 46.812A, M 25.512, M54.2) 2/ 17/ 2020              MECHANICAL TRACTION             $40.00      $75.00
        c                                 ,           ,               ,
                        97014 (323.41XA S46.812A M 25.512 M54.2) 2/ 17/ 2020                  EMS                             $40.00      $115.00
        c               99213 (523.41XA, S46.812A, M 25.512, M54.2) 2/17 / 2020                                             ..
                                                                                              ESTABLISHED PATIENT EXAM: , $205.00         $320,00


            ...
        D O S ; 02/ 19/ 2020
                                                                                                   Gates, Jerry ( NPI:
                                                                                    Provider; 1447886320 )                   copay: $ 0.00
        [                Item                                                       Date           Description           Transaction Balance           Notes
        C               97010(S23.41XA, S 46.812A, M 25.512, M 54.2) 2/ 19/ 2020                   HOT/ COLD PACK        $35 , 00    $ 35.00

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                                                                                                                                    Exhibit A
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         C         97012( S 23.41XA, S46.812A, M 25.S12, M54.2) 2/19/2020 MECHANICAL TRACTION $ 40.00                              $ 75.00
         C         97014( 523.41XA, S 46.812 A, M 25.512, M54.2 ) 2/ 19/ 2020 EMS                                   $40 , 00       $ 115.00
         C         98940( 523.41XA, S4 G.812A, M 25.512, M 54.2) 2/19/ 2020 CMT 1- 2 REGIONS                        $ 80.00        $ 195 ,00

                                                                                                                  Total Charges:               $1, 565.00
                                                                                                      Total Insurance Payments:                     $0.00
                                                                                                         Total Patient Payments:                    $ 0.00
                                                                                                   Total Insurance Adjustments:                     $0.00
                                                                                                      Total Patient Adjustments:                    $0.00
                                                                                                       Total Insurance Refunds:                     $ 0.00
                                                                                                           Total Patient Refunds:                   $0.00
                                                                                                                       Total UAC:                   $0.00
                                                                                                                  Ins. UAC Total:                   $ 0.00


                                                                                                                            Total AR:           $1, 555.00




                                                         _ _           _
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                                                                               RESPONSIBLE PARTY                       | ACCOUNT?                BILL DATE
                                                                               JAVONNE HARRIS                                -
                                                                                                                       I 70540 RAD I             07-10-2020
           RADIOLOGY ASSOC OF DEKALB PC
           PO BOX 1306
           INDIANAPOLIS, IN 46206 1306      -



           JAVONNE HARRIS
           4303 FAIRING TON CLUB DR
           LITHONIA , OA 30038 5670   -

      DOS            Patient              Physician              Phys Tax ID Charge Description                                    Amt         Pint       Adj
        --
      01 08 2020 JAVONNB HARRIS                  .
                                          11 - REID JOHN         581304565              -
                                                                               72125 2< > CT NECK SPINE W/O DYB                    104.50
            -
      OI -03 2C20    JAVONNG HARRIS         -
                                          695 OUPTA , SAURADH    581304565                  -
                                                                               73030 26,LT • X RAY EXAM OF SIJOULD2R                   16.50
      OI -08-2020    IAVONNR HARRIS        - .
                                          11 REID JOHN           5413045 iS5        -
                                                                               09637 DOC >1 DOSE REDLC TEC11                            3.00
                                                                                                                                                      I
      01 -03- 2C20   JAVONNB HARRIS              .
                                          I I - REID JOHN       I 581304565         -
                                                                               C9557 CT*CTA/M £1/A NO THYR <1 0CM                       000
                                                                                                                                                      i




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                    Case 1:21-cv-04405-SDG Document 1-1 Filed 10/22/21 Page 17 of 65
           CEP AMERICA LLC
           1601 CUMMINS DR STE D
           MODESTO, CA 95358-6411                          YOUR ACCOUNT IS 30 DAYS PAST DUE .
                                                           PAYMENT ON THIS ACCOUNT IS YOUR
           800 498-7157                                    RESPONSIBILITY.
           TAX ID27-1369141
                  ACCOUNT NO .                 -
                                         979670 01               STATEMENT DATE   02/13/ 20
                  JAVONNE HARRIS
                  4303 HARRINGTON CLUB DR
                  LITHONIA, GA 30038


                                  DR#
        DATE        PATIENT      AT RF     DESCRIPTION                            ICD10         AMOUNT

     01/08/20      JAVONNE       1   2     99284     1

                                                         EMERGENCY DEPARTMENT                  684.00

                                                                       TOTAL CURRENT          $684.00




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                                           Financial Transaction Display
    Patient Kame; HARRIS JAVONNE LAKITVT: EAcct: 224125604                       Acct 3al:        1614.76
    AR Per: Satire Account         AS: A    FC: EC5S GA 2ND                       Per 3al:        1614.76
     Service Date                    to              Major Code:           to          Bill CD:
     Posting Date                    to              Trans Type:                        Format: CODES     2
     Revenue Code                    to                Selection: VISIT                Summary:


     Posting Service           Service                   Bill
      Date    Date              Code      Descript        Units      Amt        Phys   RVC CPT4    Mods
    01/10/20     01/ 08 / 20   40480147   LEVEL 4   P        1     1417.00             450 99284 25
    01/10/20     01/08/20      41104852   TBUPROFBN 6        1        3.10             259
    01/ GS/2 C   01/08/20      43004597   RD SHOULDER        1      470.00             320 73030 LT
    01/ 08/ 20   01/08/20      44515435   CT CERVICAL        1     1327.00             352 72125
    01/ 15/20    01/15/20      9151001    PKMC MCR HM        1        0.00




                         Charges             3217.10
                         Room Charges           0.00
                         Fees                   0.00
                         Aajustments            0.00
                         Contractual            0.00
                         Room Adj               0.00




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                                                          Ortho Sport & Spine Physicians Itemized Billing Statement
                                                                         Date Range:    Jan 21.2020 - Mar 25, 2020
        Provider ;                     All                                                                     Patient: Harris, Javonne
        PATIENT NAME:          Harris, Javonne                           ACCOUNT #:          AB 50823             DOB: Mar 4, 1985
                                                                                             4303 Fairington Club
        MOBILE PHONE:              -
                               770 837-7817                              ADDRESS:                  .      .
                                                                                             Drive Lithonia GA,                 -
                                                                                                                  PHONE;770-837 7817
                                                                                             30038
             FacilityName       Rendering Provider   Case ID     CLAIM #                Service Date    CODE/DESC        Modi       Units   ICD            BALANCE
                                     Name
        Ortho Sport & Spine                          19,106                                            99070
                              Hagin, Melissa                    209025                                                                      M54.12 M54.2
        Physicians Decatur                                                     Jan 21, 2020            DENDRACIN                 1                          $ 464.40
                                                                                                                                            M54.5
                                                                                                       30/10/0.25%
        Ortho Sport & Spine                          19,106                                            99070
                              Hagin, Melissa                                                                                                M54.12 M54.2
        Physicians Decatur                                      209025         Jan 21, 2020            MELOXICAM                 30                         $ 145.50
                                                                                                                                            M54.5
                                                                                                       15MG #30
        Ortho Sport & Spine                          19,106                                            99204 Office
        Physicians Decatur
                              Hagin, Melissa                    209025              .
                                                                               Jan 21 2020             Visit, New Pt.,           1
                                                                                                                                            M54.12 M54.2
                                                                                                                                            M54.5           $ 499.00
                                                                                                       Level 4



         CLAIM BALANCE
                                                                                                                                                           $ 1,108.90
                                                     19,106                                                                                 M54.2 M54.5
        Ortho Sport & Spine                                                                            99070
        Physicians Decatur    Hagin, Melissa                    212457              .
                                                                               Feb 6 2020              DENDRACIN                 1
                                                                                                                                            M 47.816
                                                                                                                                            M47.812 R51     $ 464.40
                                                                                                       30/10 /0.25%
                                                                                                                                            M25.532
                                                     19.106                                                                                 M54.2 M54.5
        Ortho Sport & Spine                                                                            99070
        Physicians Decatur
                              Hagin, Melissa                    212457              .
                                                                               Feb 6 2020              MELOXICAM                    30
                                                                                                                                            M 47.816
                                                                                                                                            M47.812 R51
                                                                                                                                                            $145.50
                                                                                                       15MG #30
                                                                                                                                            M25.532
                                                     19.106                                                                                 M54.2 M54.5
        Ortho Sport & Spine                                                                            99213 Office
        Physicians Decatur
                              Hagin, Melissa                    212457         Feb 6, 2020                         .
                                                                                                       Visit, Est Pt ,
                                                                                                       Level 3
                                                                                                                                 1          M47.816
                                                                                                                                            M47.812 R 51
                                                                                                                                                           . $213.00
                                                                                                                                            M25.532
                                                     19,106                                                                                 M54.2 M54.5
        Ortho Sport & Spine                                                                            L3908 WRIST                          M47.816
                              Hagin, Melissa                    212457         Feb 6, 2020                                       1                          $677.10
        Physicians Decatur                                                                             Cock-up                              M47.812 R 51
                                                                                                                                            M25.532




       Mar 25, 2020                                                                            1                                                             10:41:05 AM




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                                                       Ortho Sport & Spine Physicians Itemized Billing Statement
                                                                      Date Range:   Jan 21, 2020 - Mar 25, 2020
        Provider:                    All                                                                   Patient: Harrisjavonne
            FacilityName     Rendering Provider   Case ID     CLAIM #               Sen/ice Date    CODE/DESC       Modi        Ur»its   ICD     BALANCE
                                  Name
         CLAIM BALANCE
        OSSP IMAGING of
                                                                                                                                                   .
                                                                                                                                                 S1 SOO.OO
                           Feiner, Clifford       19,106                                           72141 MR! NECK
        North Atlanta                                        213399         Jon 31, 2020                                    1            M54.2
                                                                                                   SPINE W/O DYE                                 $ 1,949.00




         CLAIM.BALANCE
             J.                                                                                                                                  $ 1,949.00
        OSSP IMAGING of                           19,106                                           72148 MRI
        North Atlanta            .
                           Feiner Clifford                   213407         Jan 31, 2020           LUMBAR SPINE             1            M54.5   $1,874.00
                                                                                                   W/O DYE




         CLAIM BALANCE
                                                                                                                                                 $ 1 ,874.00

                                                                                                                                                 $ 6,431.90




              .
       Mar 25 2020                                                                         2                                                      10: 41:05 AM




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                                                           GEORGIA SPINE AND ORTHOPAEDICS
                                                                11650 ALPHARETTA HWY
                                                               ROSWELL, GEORGIA 30076
                                                                        (404) 596-5670
                                                           Employer Identification Number: 820579938
                                                                      Patient Demographics
     Chart it :      7708742805                                   SSN:                                              Acct.Type:       Self Pay 2
     Patient         JAVONNE HARRIS                               Employment Status :                               Gender:          Female
     Address:        4303 FAIRINGTON CLUB DR                      Student Status:                                   DOB / Age :      03/04/1985         35 years
                     LITHONIA, GEORGIA 30038                      Phone:                          -
                                                                                         (770) 837 7817             Marital
                                                                                                                    Email:           harris.javonne@gmail.com
     Provider:       ERIK BENDIKS
                                                                  Current Insurance Information

                                                                         Responsible Party

     Name :             JAVONNE HARRIS            Email:            harris.javonne@gmail.com          Address :        4303 FAIRINGTON CLUB DR
                                                                                                                       LITHONIA, GEORGIA 30038
     Primary Phone:        (770) 837-7817
     Secondary Phone:

                        Primary

     Payer:
     Address:

     Phone:
     Insured Name:
     Insured DOB:
     Address:

     SSN:
     Group Number:
     Group Name:
     Member ID:
                                                                   Transactions Posted
     Effective       Type/                  Description/                                              Status/       Unit          Debits        Credits     Bal/Unap
     Date            Place of Service       Diagnoses                                                 Rendering Provider
     02/ 25/ 2020    Charge                 72040 X-RAY EXAM NECK SPINE 2-3 VW                        Ready           1       $ 421.85                       $ 421.85
                     11 (Office)            M54.2                                                     BENDIKS, ERIK                                 .
                                                                                                                                                    .
     02/ 25/ 2020    Charge                 72100 X-RAY EXAM L-S SPINE 2/3 VWS                        Ready          1        $ 444.53                       $ 444.53
                     11 (Office)            M54.5                                                     BENDIKS , ERIK
                                                                                                                                                    i
                                                                          ! •


     02/25/2020      Charge                 99204 OFFICE/OUTPATIENT VISIT NEW                         Ready          1        $ 735.00              :        $ 735.00
                                                                                                                                                    i


      03/04/2020
                     11 (Office )
                      Simple Charge

                     11 (Office)
                                             Medication Bill                ^
                                            M54.12 / M54.2 / G44.309 / M25 512                        BENDIKS, ERIK


                                                                                                      BENDIKS, ERIK
                                                                                                                       1      $ 785.30              i        $ 785.30


     03/04/ 2020     Charge                 72070 X-RAY EXAM THORAC SPINE 2VWS                        Ready          1        $ 399.04                       $ 399.04
                     11 (Office)            M54.6                                                     BENDIKS , ERIK
     03/04/2020      Charge                 99213 OFFICE/OUTPATIENT VISIT EST                         Ready          1        $ 577.50                       $ 577.50
                     11 (Office)            M54.12 / M54.2 / M50.31 / G44.309                         BENDIKS, ERIK
     03/09/2020      Charge                 73110 X-RAY EXAM OF WRIST                                 Ready          1        $ 449.19                       $ 449.19
                     11 (Office)            M25.532                                                   SMITH, VINSON
     03/09/ 2020     Charge                 73030 X-RAY EXAM OF SHOULDER                              Ready            1      $ 367.29              I        $ 367.29
                     11 (Office)            M25.512                                                   SMITH, VINSON                                 i


     03 /09/2020     Charge                 99204 OFFICE/OUTPATIENT VISIT NEW                         Ready            1      $ 735.00                       $ 735.00
                     11 (Office)            G44.309 / M25.532 / G56.02 / M25.512                      SMITH , VINSON
      03/09/2020      Simple Charge          Medication Bill                                                           1      $ 242.83      :                $ 242.83
                     11 (Office)                                            .                         SMITH, VINSON
      03/09/2020      Simple Charge          Medication Bill                                                           1      $ 555.23                       $ 555.23
                                                                            :
                     11 (Office)                                                                      SMITH, VINSON
      03/09/2020      Simple Charge          Medication Bill                                                           1      $ 267.12                       $ 267.12

     Tuesday, 14 July 2020                                                  JAVONNE HARRIS                                                   Page 1 of 3


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                                                                Transactions Posted                                          !
     Effective      Type/"                Description/                                     Status/       Unit      Debits    Credits       Bal/Unap
     Date           Place of Service      Diagnoses                                        Rendering Provider


                    11 (Office)                                                            SMITH, VINSON
      03/09/2020     Simple Charge         Medication Bill                                                 1      $ 36.40
                                                                       r
                    11 (Office)                                                            SMITH, VINSON
     03/17/2020     Charge                99213 OFFICE/OUTPATIENT V|SIT EST                Ready         1       $ 577.50
                    02 ( Telehealth)      M54.2 / M50.31 / M47.816 / M54.12                FIGA, DARYL
     03/ 23/2020    Charge                97010 HOT OR COLD PACKS THERAPY                  Ready           1       $ 26.25
                    11 (Office)           G 56.02                                          WOODY, BLAINE
     03/ 23/2020    Charge                97110 THERAPEUTIC EXERCISES                      Ready         2       $ 285.60
                                                                         I
                    11 (Office)           G56.02                                           WOODY, BLAINE
     03/ 23/2020    Charge                97161 PT EVAL LOW COMPLEX 20 MIN                 Ready          1      S 352.80
                                                                         :
                    11 (Office)           G56.02                                           WOODY , BLAINE
     03/ 27/2020    Charge                97110 THERAPEUTIC EXERCISES                      Ready         2       $ 285.60
                    11 (Office)           G56.02                                           WOODY , BLAINE
     03/ 27/2020    Charge                97010 HOT OR COLD PACKS THERAPY                  Ready          1        $ 26.25
                    11 (Office)           G56.02                                           WOODY, BLAINE
     04/03/2020     Charge                97110 THERAPEUTIC EXERCISES                      Ready         2       $ 285.60
                    02 (Telehealth)       G56.02                                           WOODY, BLAINE
     04/06/2020     Charge                0232T NJX PI ATELET PLASMA                       Ready           1 $ 16,489.60
                    11 (Office)           M 54.2 / M54.5                                   FIGA, DARYL
      04/13/2020     Patient Adjustment                                      -
                                           Over the Counter Patient Adjustment BUNDLED

      04/06/2020     Simple Charge         Medication Bill                                                 1     $ 242.83

                    11 (Office)                                                            FIGA, DARYL
      04/06/2020     Simple Chargo         Medication Bill                                                 1     $ 555.23
                    11 (Office)                                                            FIGA, DARYL
      04/06/2020     Simple Change         Medication Bill                                                 1     $ 267.12

                    11 (Office)                                                            FIGA, DARYL
      04/06/2020     Simple Charge         Medication Bill                                                 1    $ 1,186.34
                    11 (Office)                                                            FIGA, DARYL
      04/06/2020     Simple Charge         Medication Bill                                                 1     $ 198.85

                    11 (Office)                                                            FIGA, DARYL
     04/08/ 2020    Charge                97110 THERAPEUTIC EXERCISES                      Ready        2        S 285.60
                    02 (Telehaallh )      G56.02      !                                    WOODY, BLAINE
     04/15/ 2020    Charge                97110 THERAPEUTIC EXERCISES                      Ready         2    $ 285.60
                    02 (Teleheallh)       G56.02                                           WOODY, BLAINE
     04/16/ 2020    Charge                99213 OFFICE/OUTPATIENT VISIT EST                Ready         1    $ 577.50
                    02 (Teleheallh)       G44.309 / M25.532 / G56.02 / M25.512             SMITH, VINSON
     04/22/ 2020    Charge                97110 THERAPEUTIC EXERCISES                      Ready         2    $ 285.60
                    02 (Teleheallh)       M25.512  |  :                                    WOODY, BLAINE
     04 /29/ 2020   Charge                97110 THERAPEUTIC EXERCISES                      Ready         2    $ 285.60
                    02 (Teleheallh)       M25.512 .                                        WOODY , BLAINE
     05/04/ 2020    Charge                0232T NJX PLATELET PLASMA                        Ready         1 $ 16 ,489.60
                    11 (Office)           M54.2 / M54.5                                    FIGA, DARYL
      05 /11/2020    Patient Adjustment    Over the Counter Patient Adjustment - BUNDLED

      05/04/2020     Simple Charge         Medication Bill                                                 1     $ 242.83
                                                   i
                    11 (Office)                                                            FIGA, DARYL
      05/04/2020     Simple Charge         Medication Bill                                                 1     $ 267.12
                    11 (Office)                                                            FIGA, DARYL
     05/06/ 2020    Charge                97110 THERAPEUTIC EXERCISES                      Ready         2       $ 285.60
                    02 (Telehealth)       M25.512 ;                                        WOODY, BLAINE
     05/07/ 2020    Charge                99213 OFFICE /OUTPATIENT VISIT EST               Ready         1       $ 577.50
                    11 (Office)           G44.309 / M25.532 / G56.02 / M25.512             SMITH, VINSON
      05/07/2020     Simple Charge         Medication Bill                                                 1     $ 555.23
     Tuesday, 14 July 2020                                            JAVONNE HARRIS                                         Page 2 of 3


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                                                                                                                                !
                                                                 Transactions Posted
     Effective       Type/                 Description/                                     Status/       Unit       Debits         Credits       Bal/Unap
     Date            Place of Service      Diagnoses                                        Rendering Providor


                     11 (Office)                                                            BENDIKS , ERIK
     06/04/2020      Charge                99213 OFFICE/OUTPATIENT VISIT EST                Ready          1      $ 577.50
                     11 (Office )          G44.309 / M25.532 / G 56.02 / M25.512            SMITH, VINSON
     06/05/ 2020     Charge                99213 OFFICE /OUTPATIENT VISIT EST               Ready          1      $ 577.50
                     02 (Telehealth)       M54.2 / M50.31 / M47.816 / M54I.12               BENDIKS, ERIK
     06/29/ 2020     Charge                0232T NJX PLATELET PLASMA                        Ready          1     $ 4,735.50
                     11 (Office)           M25.512                                          SMITH, VINSON
     06/29/2020      Charge                99213 OFFICE / OUTPATIENT VISIT EST              Ready          1      $ 577.50
                     11 (Office)           G44.309 /:M25.532 / G56 02 / M25.512             SMITH, VINSON
      07 /01/2020     Simple Charge         Medication Bill                                                1      $ 242.83

                     11 (Office)                                                            FIGA, DARYL
      07 /01/2020     Simple Charge         Medication Bill                                                 1     $ 151.28

                     11 (Office)                                                            FIGA, DARYL
     07/01/2020      Charge                64633 DESTROY CERV/THOR FACET JNT                Ready           1    $ 3,990.00
                     24 (Ambulatory        M47.812 ,                                        FIGA, DARYL
      07/01/2020      Patient Adjustment                                      -
                                            Over the Counter Patient Adjustment BUNDLED

     07/01/2020      Charge                64633 DESTROY CERV/THOR FACET JNT                Ready           1    $ 3,990.00
                     24 (Ambulatory        M47.812  i                                       FIGA, DARYL
      07/01/2020      Patient Adjustment    Over the Counter Patient Adjustment - BUNDLED

     07/01/2020      Charge                64634 DESTROY C/TH FACET JNT ADDL                Ready           1    $ 1,312.50
                     24 (Ambulatory        M47.812 :                                        FIGA, DARYL
      07/01/2020      Patient Adjustment                                      -
                                            Over the Counter Patient Adjustment BUNDLED

     07/01/2020      Charge                64634 DESTROY C/TH FACET JNT ADDL                Ready           1    $ 1,312.50
                     24 (Ambulatory        M47.812                                          FIGA, DARYL
      07 /01/2020     Patient Adjustment    Over the Counter Patient Adjustment - BUNDLED

     07/01/2020      Charge                64635 DESTROY LUMB/SAC FACET JNT                 Ready           1    $ 3,990.00
                     24 (Ambulatory        M47.816 j                                        FIGA, DARYL
      07/01/ 2020     Patient Adjustment                                      -
                                            Over the Counter Patient Adjustment BUNDLED

     07/01/2020      Charge                64635 DESTROY LUMB/SAC FACET JNT                 Ready           1    $ 3 , 990.00
                                                    i
                     24 (Ambulatory        M47.816                                          FIGA, DARYL
      07 /01/ 2020    Patient Adjustment    Over the Counter Patient Adjustment - BUNDLED

     07/ 01/2020     Charge                64636 DESTROY L/S FACET JNT ADDL                 Ready           1    $ 1,312.50
                     24 (Ambulatory        M47.816 |                                        FIGA, DARYL
                                                                          !
      07/01/ 2020     Patient Adjustment    Over the Counter Patient Adjustment - BUNDLED

     07/01/2020      Charge                64636 DESTROY L/S FACET JNT ADDL                 Ready           1    $ 1,312.50
                     24 (Ambulatory        M47.816 I                                        FIGA, DARYL
      07 /01/ 2020    Patient Adjustment                                      -
                                            Over the Counter Patient Adjustment BUNDLED

                                                                                                 Totals:   59 $ 75,005.74




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                               ATLANTA ORTHOPAEDIC IMAGING                                                                        Phone: ;(770) 545 - 6237

I                               MRI, CT, X - Ray Imaging Services Diagnostics                                                       FAX: j(770) : 545-6240
.                              5490 McGINNIS VILLAGE PL STE 207, ALPHARETTA GA 30005-1735

                                        PATIENT( 2,4 ): HARRIS, JAVONNE - 1985-03- 04                                             DATE : 3 /31 / 2020
                                         DOB { 3 , 11A): 03/04 /1985     Sox ( 3,11 A ) : F                                     INVOICE : 2074-0465
                                                     ,
                                       ADDRESS (5 7): 14303 FAIRINGTON RIDGE CIR, LITHONIA GA 30038                            ACCOUNT : AOi-6465
                                         PHONE (5,7): ( 770) 037-7017
                                            DOI ( 14 ): 01/06/2020
                                                  FIRM : K002417

               AOI-ID         PATIENT'S NAME(L , F Ml) (2,4) !        | PROCEDURE TYPE                    ICD / DIAGNOSIS / INJURY (21)
                   -
               AOI 6465       HARRIS, JAVONNE - 1985-03 -04             Diagnostic Imaging Service        A:M4694; B:M5021:


               SERVICE FACILITY LOCATION INFORMATION (32)                        PAY TO : BILLING PROVIDER INFO & PH # (770) 545-6237
               FL(A)
               American Health Imaging of                                        ATLANTA ORTHOPAEDIC IMAGING
               Decatur, LLC                                                      5490 McGINNIS VILLAGE PL STE 207
               2774 N DECATUR RD                                                 ALPHARETTA GA 30005 -1735
               DECATUR GA 30033-5910

                                      Units                                                           Pointer
               DOS (24A)              (24G)    CPT (24D)    PRODUCT / SERVICE DESCRIPTION             (24E)      CHARGES (24F)                  TOTAL
               03/13/2020      A      1        72146        MRI-THORACIC, SPINE, W10 CON              A          $1,895.00                      $1,895.00
               08/21/2020      A      1        72141        MRI-CERVICAL, SPINE W/O CON               B          $1,895.00                      $ 1,895.00




                          TOTAL LINE ITEMS; 2                                    TOTAL QUANTITY UNITS: 2
                                                                                 Thanh you for your businessl                 TOTAL (20):       $3 , 790.00
                                            NOTES: 1) IMAGING SERVICES ARE RENDERED BY A LICENSED PRACTICING PHYSICIAN
                                                   2) EXPENSES INCURRED ARE IN CONNECTION WITH TREATMENT OF INJURY

             NOTICE TO PAYER: MAKE CHECK PAYABLE TO BILLING PROVIDER AS FOLLOWS:
             ATLANTA ORTHOPAEDIC IMAGING                                                                   .
                                                                               Federal Tax I.D Number (EIN) (25): 46 -1191771
             5490 McGINNIS VILLAGE PL STE 207                            (For Certification or Details, Plaese request IRS Form W-0)

             ALPHARETTA GA 30005-1735                                                                                                       1




             Copyright © 2018 ATLANTA ORTHOPAEDIC IMAGING                                                                     Form: AOI-lhvoice_ _181011




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                                                                          SURGERY CENTER
                                                                                  of Roswell


             JAVONNE HARRIS
             4303 FAIRINGTON CLUB DR
             Lithonia, GA 30033

                                                                           STATEMENT
             Patient Name: JAVONNE HARRIS                                  Statement Date: 07/14/2020
             MRN: 7902


        Date            Description
                M
        07/01/ 2020     64634; DSTR NROI..YTC AGNT
                                                       -
                                                     PARVERTEB   FCT
                                                                       Charges
                                                                       $1,312.50
                                                                                     Adjustments ;;   Balapcjf
                        ADDL CRVCL/ THORA
        07/01/ 2020     BUNDLE
        07/01/ 2020     64633; DSTR NROLYTC AGNT PARVERTEB FCT         $4,200.00
                        SNGL CRVCL / THORA
        07/01/ 2020     BUNDLE
        07/01/ 2020     64634 ; DSTR NROLYTC AGNT PARVERTEB FCT        $ 1,312.50
                        ADDL CRVCL/THORA
        07/01/ 2020     BUNDLE                                                                    I

        07/01/ 2020     64635; DSTR NROLYTC AGNT PARVERTEB FCT         $4, 200.00
                        SNGL LMBR /SACRAL
        07/01/2020      BUNDLE
        07/01/ 2020     64635; DSTR NROLYTC AGNT PARVERTEB FCT         $ 4,200.00
                        SNGL LMBR /SACRAL
        07/01/ 2020     BUNDLE
        07/01/ 2020     64636 ; DSTR NROLYTC AGNT PARVERTEB FCT        $1,312.50
                        ADDL LMBR /SACRAL
        07/01/2020      BUNDLE
        07/01 / 2020    64636 ; DSTR NROLYTC AGNT PARVERTEB FCT        $ 1, 312.50
                        ADDL LMBR /SACRAL
        07/01/2020      BUNDLE
        07 /01/ 2020    01935; ANESTHESIA PERQ IMAGE GUIDED            $ 1,500.00
                        SPINE DIAGNOSTIC
        07 /01 /2020    BUNDLE                                                                    !

        07 /01 / 2020   A4649; Surgical supplies                       $2,352.00
        07/01 /2020     BUNDLE



        Patient Statement                                                                         Page 1 of 2



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           *
        Statement Date: 07/14/2020




                                                                                 SURGERY CENTER
                                                                                         of Roswell


        iJMg            I»7?                                                              ‘Tf        E
        07/01/ 2020     64633 ; DSTR NROLYTC AGNT PARVERTEB FCT               $4,200.00
                        SNGL CRVCL/THORA
        07/01/ 2020     BUNDLE




        All checks must be payable to Surgery Center of Roswell, Tax ID # XX-XXXXXXX
                         11650 Alpharetta Hwy Suite 200
                            Roswell, Georgia 30076




                                                                                                :




         Patient Statement                                                                          Page 2 of 2


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                                                                          Charges at CRT Level
                                                                   Date Range: Jan 4, 2018 - Feb 4.2021
                TranucHon ’typ :       Associated                                               -
                              *                                                             Chi gxi By.               Claim Date
                Insurance:             AU                                                   Facility.                 All
                Appointment Provider AU                                                     Rendering Provider        All
                PATIENT                HARRIS,JAVONNEIAKITA                                 Procedure Code:           All
                    Facility       Claim Service    Claim   CPT      Modifier                CPT Code Description                   Billed       Self      Insurance
                                   Date   Date       ID     Code          1                                                         Charge      Charge      Charge
                                    Sep     Sep 250961 99205         25         NP eomprehen hx exam high complex
                KAMALC
                                    25.
                                   2020
                                             23,
                                           2020
                                                                                                                                   *500.00 *0.00 *500*10
                KABAKIBOU
                                    Nov     Nov 252728 99214                    FU detail hx exam moderate comptax
                MDPC
                                     12,
                                   2020
                                             11,
                                           2020
                                                                                                                                   *226.00 *0.00           $225.00



                                    Sep     Sep 2S1050 62321                    Cervical or Thoracic ESI Transbmlnar with          $2,267.00
                                     28,
                                   2020
                                             23,
                                           2020
                                                                                Imaging guidance                                                *   0.00   $ 2,267.00


                PAVILION            Sep     Sep 25I0S0 64493 R?                 Facet Block Lumb Sac 1st level                     $2,267.00    $0.00      $ 2,267.00
                SPINE SURGERY        28,     23,
                CENTER             2020    2020
                                    Sep
                                     20,
                                            Sep 251050 64494 RT
                                             23,
                                                                                Facet Block Lumb Sac 2nd level                     $1 ,404.00   $03  »     $1,404.00

                                   2020    2020
                                    Sep     Sep 251051 62321                    Cervlcil or Thoracic ESI Transtamlnar with         $1,600 10    $0.00      $1,800.00
                                     28,     23,                                Imaging guidance                                           *
                                   2020    2020
                                    Sep     Sep 2S1051 64493 RT                 Facet Black Lumb Sac 15t level                     $700.00      $0.00      $700.00
                Pavilion Spine
                Surgery Center
                                     28.     23,
                                   2020    2020
                                    Sep     Sep 251051 64494 RT                 Facet Block Lumb Sac 2nd level                     $500.00      $0.00      $500.00
                                     20,     23,                                                                                                              :
                                   2020    2020                                                                                                               i

                                    Oct     OCt 232098 64490 LT                 Facet Block Cerv Thoracic 1st level                $2,267,00    $0,00      $2.26700
                                     27,     14,
                                   2020    2020

                                                                                                                                                                    *»
                PAVILION            Oct     Oct 252098 6463 S RT                DESTRUCTION PARAVERTEBRAL FACET NERVE;             $3,950 10    $0.00      $3,950
                SPINE SURGERY        27,     14.                                LUMBAR/SACRAL, SINGLE LEVEL                                *
                CENTER             2020    2020
                                    Oct     Oct 252098 64636 RT                 DESTRUCTION PARAVERTEBRAL FACET NERVE              $2,962.00    $0.00      $2,962.00
                                     27.     14,                                WITH FLUOROSCOPY; LUMBAR/SACRAL ADDL
                                   2020    2020                                 LEVELS
                                    Oct     OCt 252099 64490 LT                 Facet Block CervThoracic lit level                 $700.00       $0.00      $700.00
                                     27,     14,
                                   2020    2020
                                    OCt     Oct 2S 2099 64635 RT                Deitr of Paravert Facet lumb/Sacra 1st ltv«        $900
                Pavilion Spine
                Surgery Center
                                     27,
                                   2020
                                             14,
                                           2020
                                                                                                                                          *10    $0.00      $9$0.00


                                    Oct     Oct 252099 64636         RT         Destr Paravert Facet Lumb/Sacra Add'l Level        $495 JOO      $0.00      $ 495.00
                                     27,    14,
                                   2020    2020
                PAVILION            Nov     Oct 232761 64633 LT                 DESTRUCTION PARAVERTEBRAL FACET JT
                SPINE SURGERY        13,    28,                                 NERVE WTTH FLUORO: CERV/THORAC SINGLE              *3,950 00 *0.00
                                                                                                                                           ,                $33)50.00



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                                                                                                                                                                    P 002 / 002




                                                                          Charges at CPT Level
                                                                      Date Range: Jan 4.2018 - Feb 4.2021
                TCinsictlon'fypa:       Associated                                             Chargee By .              Claim oat
                Iruuranca:           All                                                       Fadllty:                  AU
                                                                                                                                   *
                Appointment Provider AII                                                       Rendering Provider        All
                PATIENT                       .
                                     HARRIS JAVONNELAklTA                                      Procedure Coda:           All
                    Facility        Claim Service      Claim   CPT      Modifier                  CPT Code Description                   Billed      Self    Insurance
                                    Date    Date        ID     Code        1                                                            Charse      Charge    Charge
                                    2020    2020                                   LEVEL
                CENTER               Nov
                                      13,
                                              Oct 252761
                                              28,
                                                               64634 LT            DESTRUCTION PARAVERTEBRAL FACETJT                         .
                                                                                                                                       S2.902 00      .
                                                                                                                                                    SO QO    $ 2,962.00
                                                                                   NERVE;CERV/THORAC ADDL LEVELS
                                    2020    2020



                Pavilion Spine
                                     Nov
                                       .
                                      13
                                    2020
                                             28
                                            2020
                                                   .
                                             Oct 252762 64633 LT                   Destr of Paravert FatttJtCerv lit level             $975.00      $0.00    $975.00



                                                                                                                                       $495,00
                Surgery center       Nov     Oct 2S2762 64634 LT                   Dertr Paravert Facet Jt Cerv/Thor idd'l level                    $0.00    $495.00
                                      13.    28,
                                    2020    2020
                Summery                                                                                                                $29,440.00   $0.00    $19,400.00



                                                                                                                                                                !




                                                                                                                                                                I
                                                                                                                                                                1




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                                                  STATEMENT1-1 Filed 10/22/21 Page 29 of 65

        THIS IS A STATEMENT OF SERVICES RENDERED; BYjPHYSICIAN(S)
                         WHO ARE MEMBERS OF: ‘                !                                          PATIENT NAME
       Alan Maloon MD PC Roswell
                                                                                      Harris, Javonne
       11650 ALPHARETTA HWY
       STE 100                                                                         BILL DALE         ACCOUNT NO            AMOUNT jPAlri

                   .
       ROSWELL GA 300763805                                                           Nov 12, 2020           10504
       470- 365 -8855




               Harris, Javonne
                                                                                 This is a statement for professional services rendered by your
               4303 FAIRINGTON RIDGE CIR                                         physician. You may receive a separate bill from the hospital for
                                                                                 its services.
               LITHONIA GA 30038-1995

                                                     '
                                                         I I                                             PMT/ADJ/
            DATE OF SERVICE                   DESCRIPTION OF SERVICE                      CHARGES                              AMOUNT
                                         •          . 5- |•                                              WITHHELD

             - -
         2020 03 19             Claim:l739, Provider: Alan Maloon, MD
         2020- 03-19                                      -
                                PHONE E/M BY PhYS 21 30 MIN                                 $700.00
             - -
         2020 11 12             Your Balance Due On These Services

                                              Your Balance Due On These Services...                                                  $ 700.00
         2020-04- 28            Claim:2117, Provider: Alan Maloon, MD                                                                    :
                                                                                                                                         !
         2020-04-28             Emg 1 Ext Full                                             $1,200.00
         2020-04-28             Nerve Cond Studies 11-12                                   $ 1,700.00
             - -
         2020 11 12             Your Balance Due On These Services

                                                                                 ..
                                              Your Balance Due On These Services .                                                 52,900.00
             - -
         2020 06 09             Claim:2421, Provider: Alan Maloon, MD
         2020-06-09             Lev 3 - Est Detailed                                        $550.00
         2020-11-12             Your Balance Due On These Services

                                                                                 .
                                              Your Balance Due On These Services ..                                                  $550.00
                 -
         2020-07 31             Claim:2892, Provider: Alan Maloon, MD
         2020-07 -31            Lev 3   - Est Detailed                                      S 550.00
         2020-11 -12            Your Balance Due On These Services

                                                                                 .
                                              Your Balance Due On These Services, .                                                   $550.00




               DALE                                 PATIENT NAME                           ACCOUNT NO.          PAY THIS
           Nov 12, 2020                             Harris, Javonne                            10504           AMOUNT             $ 4,700.00

                          MAKE CHECK PAYABLE TO :        ALAN MALOON MD PC




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               Surgical    Estimate

               Client Name: Javonne Harris

               DOB : 03/04/ 1985
                                ANNULOPLASTY/ NUCLEOPLASTY LEVEL 1
                Services                               Net Charge
                Prof Fees                                  $ 29,709.34
                Anesthesia Fee                             $ 5,007.90
                Supplies/Hardware
                Cold Co GSO                                $ 4, 206 , 63
                Facility Fees                              $ 30, 276.13
                Total                                      $ 69, 200,00

                                                                           Collect
                Total Estimate for Georgia Spine and Orthopaedics:         $ 33,915.97
                Total Estimate for Surgery Center of Roswell:              $ 35, 284.03
                                                                           $ 69,200.00




                                                                                          6


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                       21A04199
                No. ___________________________                          STATE COURT OF DEKALB COUNTY
                                                                                  GEORGIA, DEKALB COUNTY
                Date Summons Issued and E-Filed

                                                                                               SUMMONS
                   9/10/2021
                ______________________________
                                        Siana Smith
                ______________________________
                Deputy Clerk

                Deposit Paid $ __________________
                                                                              Javonne Harris
                                                                           _____________________________________

                                                                           ______________________________________
                                                                           Plaintiff's name and address

                                                                            vs.
                [ ] JURY
                                                                             Jordan Peak and Insituform Technologies, LLC
                                                                           ______________________________________

                                                                           ______________________________________
                                                                           Defendant's name and address

                TO THE ABOVE-NAMED DEFENDANT:

                You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2 nd Floor,
                Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia
                30030 and serve upon the plaintiff's attorney, to wit:
                  Kenneth S. Nugent, P.C.
                _______________________________________________________________
                Name
                  4227 Pleasant Hill Road, Building 11, Duluth, Georgia 30096
                _______________________________________________________________
                Address
                   404-875-0900
                _______________________________________________________________
                Phone Number                                               Georgia Bar No.

                an ANSWER to the complaint which is herewith served upon you, within thirty (30) days after
                service upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
                taken against you for the relief demanded in the complaint. The answer or other responsive
                pleading can be filed via electronic filing through eFileGA via www.eFileGA.com or, if desired, at the e-filing public
                access terminal in the Clerk’s Office at 556 N. McDonough Street, Decatur, Georgia 30030

                __________________________________________                           ________________________________
                Defendant's Attorney                                                 Third Party Attorney
                __________________________________________                           ________________________________
                Address                                                              Address
                __________________________________________                           ________________________________
                Phone No.                 Georgia Bar No.                            Phone No.          Georgia Bar No.

                                                                  TYPE OF SUIT
                 Personal Injury  Products Liability                              Principal $ _____________________
                 Contract  Medical Malpractice
                 Legal Malpractice  Product Liability                              Interest $    _____________________
                Other
                                                                         Atty Fees $ _____________________
                Access to the e-filing site and the rules is available at www.dekalbstatecourt.net
                To indicate consent to e-service check the box below.
                (Plaintiff consents to e-service pursuant to OCGA 9-11-5 (f). The email address for
                service appears in the complaint.

                                                                                                         E-file summons1-2016
                                                                                                                                            STATE COURT OF
                                                                                                                                         DEKALB COUNTY, GA.
                                                                                                                                            9/10/2021 9:42 AM
                                                                                                                                                      E-FILED
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                                   IN THE STATE COURT OF DEKALB COUNTY

                                                  STATE OF GEORGIA

             JAVONNE HARRIS,                                 )
                                                             )    CIVIL ACTION FILE NO.
                                    Plaintiff,               )
                                                             )        21A04199
             vs.                                             )
                                                             )
             JORDAN PEAK and INSITUFORM                      )
             TECHNOLOGIES, LLC,                              )
                                                             )
                                    Defendants.              )

                                   CERTIFICATE OF SERVICE OF DISCOVERY

                    The undersigned hereby certifies that, pursuant to O.C.G.A. § 9-11-29.1 and other

             applicable provisions of law, he has this day delivered for service upon Defendants true and correct

             copies of Plaintiff’s First Interrogatories, Request for Admissions, and Request for Production of

             Documents as provided by law.

                    Respectfully submitted this 10th day of September, 2021.

                                                                  KENNETH S. NUGENT, P.C.

                                                                     /s/ Ryan M. Horn
                                                                  Ryan M. Horn
             4227 Pleasant Hill Road                              Georgia Bar No. 794788
             Building 11                                          Jan P. Cohen
             Duluth, Georgia 30096                                Georgia Bar No. 174337
             T: (770) 495-6688                                    Attorneys for Plaintiff
             F: (770) 495-6787
             rhorn@attorneykennugent.com
             jcohen@attorneykennugent.com




                                                                                                                STATE COURT OF
                                                                                                             DEKALB COUNTY, GA.
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                                   IN THE STATE COURT OF DEKALB COUNTY

                                                 STATE OF GEORGIA

             JAVONNE HARRIS,                                )
                                                            )        CIVIL ACTION FILE NO.
                                   Plaintiff,               )
                                                            )         21A04199
             vs.                                            )
                                                            )
             JORDAN PEAK and INSITUFORM                     )
             TECHNOLOGIES, LLC,                             )
                                                            )
                                   Defendants.              )

                         PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS, FIRST
                       INTERROGATORIES, AND REQUEST FOR PRODUCTION OF
                     DOCUMENTS TO DEFENDANT INSITUFORM TECHNOLOGIES, LLC

                    NOW COMES the Plaintiff in the above-styled action, by and through her attorneys, and

             herewith serves upon you the following Request for Admissions, First Interrogatories and Request

             for Production of Documents, pursuant to the Georgia Civil Practice Act, and requires the

             Defendant to answer the following Admissions, Interrogatories and Request for Production of

             Documents separately and fully in writing under oath and to serve a copy of your answers on the

             undersigned within forty-five (45) days after the service of these requests, as provided by law.

             You are advised that if you fail to admit any of the Request for Admissions and the Plaintiff is

             required to prove any fact contained in the Request at trial, the Plaintiff may seek all expenses

             incurred in making the proof, including reasonable attorneys' fees.


                                            REQUEST FOR ADMISSIONS

                                                                1.

                    This Defendant admits that it has been properly served with a copy of the Summons and

             Complaint in the above-styled action.

                                                                2.

                    This Defendant admits that jurisdiction and venue are proper in this case.

                                                                                                             STATE COURT OF
                                                                                                          DEKALB COUNTY, GA.
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                                                             3.

                    This Defendant admits that on or about January 6, 2020, Plaintiff was traveling on White

             Mills Road, at or near its intersection with Habersham Drive, in DeKalb County, Georgia.

                                                             4.

                    The Defendant admits that Defendant Peak struck Plaintiff’s vehicle when Defendant Peak

             improperly backed the vehicle he was driving.

                                                             5.

                    The Defendant admits that Plaintiff sustained damages as a result of the collision caused

             by Defendant Peak.

                                                             6.

                    The Defendant admits that, at all times pertinent to this case, Defendant Peak was

             Defendant Insituform’s employee.

                                                             7.

                    The Defendant admits that, and at the time of the incident herein complained of, Defendant

             Peak was acting within the course and scope of his employment with Defendant Insituform.

                                                             8.

                    This Defendant admits that at all times relevant hereto, it was aware that Defendant Peak

             was a reckless and/or incompetent driver.

                                                             9.

                    Defendant Insituform is vicariously liable for the conduct of its employee and/or agent,

             Defendant Peak.

                                                             10.

                    This Defendant admits that it is a motor common carrier as defined by Georgia law.




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                                                               11.

                      This Defendant admits that Insituform Technologies, LLC, owns the vehicle that caused

             the incident described in the Complaint for purposes of doing business.

                                                               12.

                      This Defendant admits that it did not properly check the driving record of employee

             Defendant Peak before allowing him to operate the company’s vehicle(s), whether leased or

             owned.

                                                               13.

                      This Defendant admits that Insituform Technologies, LLC, was immediately notified of

             the incident.

                                                               14.

                      This Defendant admits that Insituform Technologies, LLC, knew that Defendant Peak was

             driving the vehicle made the subject of this litigation.



                                               FIRST INTERROGATORIES

                      You are required to answer the following interrogatories and to serve a copy of your

             answers on the undersigned as provided by law.

                      In answering the following interrogatories, you are requested to give full and complete

             answers based upon all knowledge of you and your agents, employees, servants, representatives,

             investigators, and others who have obtained information on your behalf.

                      All the following interrogatories shall be deemed continuing in nature until the date of trial

             to the extent permitted by O.C.G.A. § 9-11-26(c), and you are required to serve supplemental

             answers to the extent required thereby if you or your attorneys obtain additional information

             between the time the answers are served and the time of trial. Copies of such supplemental answers




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             shall be served on the undersigned within forty-five (45) days from the discovery of such additional

             information, but not later than the time of trial.

                     When used in these interrogatories, the term "incident" specifically refers to the crash

             which occurred on or about January 6, 2020, at approximately 8:05 a.m. on White Mills Road, at

             or near its intersection with Habersham Drive in the County of DeKalb, involving the Plaintiff and

             Defendant Peak and which forms the basis of the Complaint filed by the Plaintiff.

                                                                  1.

                     If you denied any of Plaintiff’s First Request for Admissions, please state in detail each

             and every reason for such denial and provide the name, address and phone number of all persons

             having knowledge of these facts and indicate which facts are supported by which person or

             persons.

                                                                  2.

                     Did Defendant Peak complete and furnish to you an application for employment?

                                                                  3.

                     Did you make investigation or inquiry into Defendant Peak’s driving record and prior

             employment?

                                                                  4.

                     Please state whether you have made an annual review of Defendant Peak’s driving record.

                                                                  5.

                     Please state whether a report of the incident was prepared by you.

                                                                  6.

                     Please state whether you maintain an accident and/or incident register. If so, please state

             whether an entry was made about the incident.




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                                                                 7.

                       Please state whether Defendant Peak was required to maintain a daily log, multi-day log,

             or other forms for the months before the wreck of 2020.

                                                                 8.

                       Please state whether inspection and maintenance records were maintained by you on the

             vehicle involved in the incident as of the time of the incident in question and for six months prior

             thereto.

                                                                 9.

                       Please state whether a driver vehicle inspection report was made by you at any time prior

             to the incident.

                                                                 10.

                       Please state whether any instruction or driver's manuals were given by you to Defendant

             Peak.

                                                                 11.

                       Please describe the vehicle driven by Defendant Peak including its weight, height and

             length.

                                                                 12.

                       Please state the date the vehicle was last inspected and the name and address of the person

             conducting the inspection.

                                                                 13.

                       Does Defendant Insituform have any guidelines, manuals, rule books, instruction manuals,

             or other writings or rules and regulations that it requires or utilizes in the maintenance or operation

             of any of its trucks or trucks leased to it? If so, please state the following:

                       (a)      The title or name of the guidelines, manuals, rule books, instruction manuals, or

                                other writings or rules and regulations;



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                    (b)     The name, address, and telephone number of the person having custody or control

                            of the guidelines, manuals, rule books, instruction manuals, or other writings or

                            rules and regulations; and

                    (c)     Whether any of these guidelines, manuals, rule books, instruction manuals, or other

                            writings or rules and regulations are given to the drivers or operators of its vehicles

                            or to maintenance personnel.

                                                             14.

                    Please state whether or not Defendant Insituform has any internal disciplinary system,

             driver appraisal system, or accident investigation or appraisal system for its drivers or maintenance

             personnel. If so, please state whether Defendant Peak was subject to any of such systems. If so,

             please describe the system or systems.

                                                             15.

                    Please identify the name, address, and telephone number of the current person in charge of

             safety for Defendant Insituform and the name, address, and telephone number of the person who

             was in charge of safety and vehicle safety for Defendant Insituform at the time of the incident.

                                                             16.

                    Please state the name, home address including zip code, business address including zip

             code, and home and business telephone number of each person, including any party who, to your

             knowledge, information or belief:

                    a.      was an eye-witness to the incident or any parts of the incident;

                    b.       has some knowledge of any fact or circumstances upon which your defenses in

                            this matter are based;

                    c.      assisted in answering these Interrogatories.




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                                                                17.

                    Please describe each and every statement or report which to your knowledge, information

             or belief, has been made by any person named and answered to interrogatory number 16 above,

             giving as to each the date the statement or report was made, the parties present when made, the

             form (whether oral, written, recorded, etc.,) and please provide the name, address, and phone

             number of the person presently having custody of each said statement or report.

                                                                18.

                    Did any mechanical defect in the motor vehicle driven by Defendant Peak at the time of

             the incident contribute to the incident? If so, what was the nature of the defect?

                                                                19.

                    List the name and address of all persons or corporations who were the registered title

             owners or who had any legal or equitable interest in the motor vehicle that Defendant Peak was

             driving at the time of the incident.

                                                                20.

                    Please describe all policies of insurance, including umbrella or excess policies, known or

             believed by you to have been in force and effect and which would provide coverage at the time of

             the incident and for each policy, please state the following:

                    (a)     The full name of the company issuing the policy;

                    (b)     The policy number;

                    (c)     The limits of liability coverage;

                    A.       The limits of the property damage coverage;

                    (e)     The full name of each insured shown on the declarations portion of the policy;

                            and

                    (f)     Where and how the policy was purchased;

                    (g)     Whether the insurance company has assumed the defense of this matter; and



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                     (h)     Whether the insurance company has provided its insured with any reservation of

                             rights or other qualification to coverage pursuant to the policy.

                                                                21.

                     Please identify each person whom you expect to call as an expert witness at the trial of this

             case and with respect to each person, state the subject matter on which such expert is expected to

             testify, state the substance of the facts and opinions to which each such expert is expected to testify

             and give a summary of the grounds for each such opinion.

                                                                22.

                     Please state whether any of the experts listed in the answer to the foregoing Interrogatory

             have rendered any reports, either written or oral, concerning any facts or opinions involving any

             of the issues in this case. If so, please state:

                     (a)     The name of the expert or experts and the issues about which he or she has

                             formed or expressed an opinion;

                     (b)     Whether the opinion or report of the expert was oral or written and the date upon

                             which said opinion or report was given;

                     (c)     If written, the name and address of the person having said report or any copy

                             thereof in his or her possession and control;

                     (d)     The facts determined and the opinions formed as expressed by each expert; and

                     (e)     The substance of the facts relied upon by said expert in arriving at his or her

                             opinion or opinions.

                                                                23.

                     On the particular trip during the course of which the incident occurred, what was the point

             and time of departure, intended destination and purpose of the trip?




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                                                              24.

                     Was an examination of the vehicle operated by Defendant Peak made to determine the

             extent of the damage thereto? If so, state:

                     (a)       the date of the examination;

                     (b)       the name, address, and occupation of the person or persons making such

                               examination; and

                     (c)       the name and the address of the person now having possession and custody of the

                               records of such examination and any estimate of damages.

                                                              25.

                     Were any drug/alcohol screening tests performed on Defendant Peak within forty-eight

             (48) hours before or after the time of the incident? If so, please provide the time and results of

             each such test.

                                                              26.

                     Please state the names, addresses and the telephone numbers of each individual who may

             be called to testify on behalf of the Defendants concerning the nature, duration of and extent of

             Plaintiff’s injuries.

                                                              27.

                     Please state whether your vehicle contained or utilized an on-board recording device, an

             on-board computer, tachograph, trip monitor, trip recorder, trip master or device known by any

             other name which records and/or transmits information concerning the operation of the vehicle.

                                                              28.

                     If so, please identify the person having custody of the evidence produced or capable of

             being produced by said machine regarding any data for any and all parts of the trip which

             ultimately was involved in the wreck which forms the basis of Plaintiff’s complaint.




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                                             REQUEST FOR PRODUCTION

                    You are required to produce the following documents requested herein and to permit the

             undersigned, or someone acting on his behalf to inspect them and copy such of them as he may

             desire, within forty-five (45) days from the date of service as provided by law. You may produce

             such documents by mailing copies of such documents to the undersigned at the office of Kenneth

             S. Nugent, P.C., 4227 Pleasant Hill Road, Building 11, Suite 300, Duluth, Georgia 30096.

                    YOU ARE HEREBY NOTICED TO PRODUCE THE DOCUMENTS AT ANY

             DEPOSITION, HEARING OR TRIAL OF THIS MATTER PURSUANT TO O.C.G.A. § 24-10-

             26.

                    The term "documents" is intended in the broad and literal sense, and means any and all

             forms of written, typed, printed, recorded, graphic, or computer matter, however produced,

             processed or reproduced, of any kind and description and whether an original, master, duplicate or

             copy, including but not limited to accounts, advertisements, agreements, amendments, analyses,

             appointment books, articles, bank checks, bibliographies, bills, binders, books, brochures,

             bulletins, cablegrams, calculations, canceled checks, cashier's checks, catalogs, charts, check

             stubs, communications (including inter-office and intra-office), computer print-outs, computer

             data, contracts, corporate records, correspondence, data sheets, desk calendars, diaries, diary

             entries, drafts, drawings, films, financial records, formulas, freight bills, instructions, invoices,

             labels, ledger books, letters, lists, mail-grams, manuals, memoranda, microfiche, microfilm,

             minutes of board of directors, minutes of committee meetings, newspapers, notebooks, notes,

             orders, pamphlets, papers, periodicals, photographs, plans, projections, publications, receipts for

             cashier's checks, receipts, records, reports, schedules, shipping orders, sketches, sound recordings,

             specifications, studies, surveys, telegrams, test results, videotapes, vouchers, working papers, work

             sheets, things similar to any of the foregoing, and notes, minutes, transcriptions or sound

             recordings of any type of personal or telephone conversations, statements, negotiations, meetings



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             or conferences, and all other physical things containing information, including preliminary drafts

             of and marginal or other notes, notations or comments appearing on any document, however

             denominated or described.

                      If you dispute the genuineness of any documents produced in response to this Request for

             Production of Documents, please provide information sufficient to locate and obtain the original

             of such document.

                                                               1.

                      Please produce a copy of any and all documents that support or otherwise evidence your

             response to Interrogatory No. 1.

                                                               2.

                      Please produce a copy of the application for employment identified in response to

             Interrogatory No. 2.

                                                               3.

                      Please produce a copy of such investigation or report identified in response to Interrogatory

             No. 3.

                                                               4.

                      Please produce a copy of your annual review of Defendant Peak’s driving record as

             identified in response to Interrogatory No. 4.

                                                               5.

                      Please produce a copy of such report for the accident that is the subject matter of this

             litigation as identified in response to Interrogatory No. 5.

                                                               6.

                      Please produce a copy of the relevant page or pages of such accident register as identified

             in response to Interrogatory No. 6.




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                                                              7.

                      Please produce a copy of the logs or other forms as identified in response to Interrogatory

             No. 7.

                                                              8.

                      Please produce a copy of any such inspection or maintenance records for said period as

             identified in response to Interrogatory No. 8.

                                                              9.

                      Please produce a copy of such driver vehicle inspection report for the vehicle involved in

             this incident as identified in response to Interrogatory No. 9.

                                                              10.

                      Please produce a copy of the manual identified in response to Interrogatory No. 10. If

             you do not have a copy of the manual provided, please produce a receipt that indicates that such

             a manual was given to Defendant Peak as identified in response to Interrogatory No. 10.

                                                              11.

                      Please produce a copy of any and all documents that would support or otherwise evidence

             your response to Interrogatory No. 11.

                                                              12.

                      Please produce copies of any and all records of inspection, repair, maintenance, and

             lubrication on the vehicle which was operated by Defendant Peak at the time of the incident for

             the period 2019 - 2020.

                                                              13.

                      Please produce copies of any and all driver's inspection reports for the truck prepared by

             Defendant Peak.




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                                                             14.

                     Please produce copies of any and all investigation, inquiry, and annual review of the

             driving record of Defendant Peak.

                                                             15.

                     Please produce a copy of Defendant Peak’s driver's log for the period of three months prior

             to the incident and one month after the incident.

                                                             16.

                     Please produce copies of any and all manuals, rule books, instruction manuals, guideline

             books, or other writings that are prepared by or on behalf of Defendant Insituform or utilized by

             Defendant Insituform in maintenance, operation, and instruction of its drivers and maintenance

             personnel.

                                                             17.

                     Please produce a complete copy of Defendant Insituform's personnel file of Defendant

             Peak.

                                                             18.

                     Please produce copies of any and all disciplinary records, violation records, internal

             appraisal records, and internal accident investigation records, and opinions rendered as a result of

             this incident.

                                                             19.

                     Please produce copies of any and all written discipline or other written sanctions or

             reprimands rendered against Defendant Peak.

                                                             20.

                     Please produce copies of any and all documents which disclose the name and address of

             any persons or corporations who were the registered title owners or who had any legal or equitable




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             interest in the motor vehicle that Defendant Peak was driving on the date of the incident described

             in the Complaint.

                                                             21.

                    Please produce copies of any and all policies of insurance identified by you in response to

             Interrogatory no. 20.

                                                             22.

                    Please produce copies of any and all correspondence or other documents whereby any

             insurer has reserved rights as to coverage or has denied coverage to you, in whole or in part, in

             connection with the incident described in the Complaint.

                                                             23.

                    Please produce copies of any and all documents which support or otherwise illustrate your

             version of the incident as provided in your response to Interrogatory No. 25.

                                                             24.

                    Please produce copies of any and all documents which describe, depict or otherwise

             reference the extent of damage sustained to your vehicle as provided in your response to

             Interrogatory no. 26.

                                                             25.

                    Please produce copies of any and all documents which describe or depict or otherwise

             reference the extent of damage sustained to any other vehicle in the incident described in the

             Complaint.

                                                             26.

                    Please produce copies of any and all documents, photographs, videotapes, diagrams,

             drawings, or other items which describe, depict or otherwise reference the scene of the incident or

             the relative position or any vehicle or other fixed object involved in the incident described in the

             Complaint.



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                                                             27.

                    Please produce copies of any and all witness statements taken by any insurance adjuster

             concerning the incident described in the Complaint. If you claim any objection to the production

             of any such statement, please state the date and substance of each such statement.

                                                             28.

                    Please produce copies of any and all documents prepared by, or under the direction of, any

             expert witness retained by you for the purposes of trial testimony.

                                                             29.

                    Please produce copies of any and all documents which support or otherwise evidence your

             response to Interrogatory No. 29.

                                                             30.

                    Any and all documents, including your proof of loss, submitted by you or at your request

             to your insurer after the incident described in the Complaint.

                                                             31.

                    Any and all documents that support or otherwise evidence any and all drug/alcohol tests

             performed on Defendant Peak as identified in your response to Interrogatory No. 27.

                                                             32.

                    Complete and clearly recordable copies of any and all created electronic or satellite

             vehicular movement recording documents or records such as Qualcomm, Highway Master,

             American Mobile Satellite Corporation, or any similar organization records along with any tractor

             trip recorder computer generated documents (ECM) or any otherwise described documents

             generated by whatever means, in reference to the physical movement and/or geographical locations

             at certain date and time of the vehicle involved in the subject accident.




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                                                            33.

                    Any and all documentary evidence relied upon by you to demonstrate and support facts

             relevant to this litigation. E. H. Siler Realty & Business Broker, Inc. v. Sanderlin, 158 Ga. App.

             796(2), 282 S.E.2d 381 (1981).

                    This 10th day of September, 2021.

                                                                  Respectfully submitted,

                                                                  KENNETH S. NUGENT, P.C.

                                                                     /s/ Ryan M. Horn
                                                                  Ryan M. Horn
             4227 Pleasant Hill Road                              Georgia Bar No. 794788
             Building 11                                          Jan P. Cohen
             Duluth, Georgia 30096                                Georgia Bar No. 174337
             T: (770) 495-6688                                    Attorneys for Plaintiff
             F: (770) 495-6787
             rhorn@attorneykennugent.com
             jcohen@attorneykennugent.com




                                                                        STATE COURT OF
                                                                        DEKALB COUNTY, GA.
                                                                        9/10/2021 9:42 AM
                                                                        E-FILED
                                                                        BY: Siana Smith




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                                   IN THE STATE COURT OF DEKALB COUNTY

                                                    STATE OF GEORGIA

             JAVONNE HARRIS,                                 )
                                                             )        CIVIL ACTION FILE NO.
                                      Plaintiff,             )        21A04199
                                                             )
             vs.                                             )
                                                             )
             JORDAN PEAK and INSITUFORM                      )
             TECHNOLOGIES, LLC,                              )
                                                             )
                                      Defendants.            )

                            PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS, FIRST
                            INTERROGATORIES, AND REQUEST FOR PRODUCTION
                               OF DOCUMENTS TO DEFENDANT JORDAN PEAK

                    COMES NOW, Javonne Harris, Plaintiff in the above-styled case, by and through her

             undersigned counsel of record, Kenneth S. Nugent, P.C., and herewith serves upon this Defendant

             the following Requests for Admissions, Interrogatories and Request for Production of Documents,

             pursuant to the Georgia Civil Practice Act, and requires this Defendant to answer the following

             Admissions, Interrogatories and Request for Production of Documents separately and fully in

             writing under oath and to serve a copy of your answers on the attorneys for the Plaintiff within

             forty-five (45) days from the date of service as provided by law. You are advised that if you fail

             to admit any of the Requests for Admissions and the Plaintiff is required to prove any fact

             contained in the Request at trial, the Plaintiff may seek all expenses incurred in making the proof,

             including reasonable attorneys' fees.


                                             REQUEST FOR ADMISSIONS

                                                                 1.

                    Admit that you have been correctly named in the instant action insofar as the legal designation

             of names is concerned.


                                                                                                                  STATE COURT OF
                                                                                                               DEKALB COUNTY, GA.
                                                                                                                  9/10/2021 9:42 AM
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                                                               2.

                    Admit that you are familiar with the roadway described in the Complaint.

                                                               3.

                    Admit that you improperly backed your vehicle on or about January 6, 2020.

                                                               4.

                    Admit that Plaintiff was not contributorily negligent in said collision.

                                                               5.

                    Admit that Plaintiff did nothing wrong with regard to said collision.

                                                               6.

                    Admit that Plaintiff did not assume the risk of injury with regard to said collision.

                                                               7.

                    Admit that you violated O.C.G.A. § 40-6-240 (Improper backing).

                                                               8.

                    Admit that as a direct and proximate result of the collision described in the Complaint the

             Plaintiff suffered bodily injuries on or about January 6, 2020.

                                                               9.

                    Admit that the Plaintiff’s injuries were caused by this accident.

                                                              10.

                    Admit that the Plaintiff incurred medical expenses as a result of this accident.

                                                              11.

                    Admit that the charges for the medical services that Plaintiff has presented to date are

             reasonable and customary.




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                                                                12.

                        Admit that you have no evidence in your possession which would support an argument that

             the medical charges that Plaintiff has presented to date are not reasonable and customary.

                                                                13.

                     Admit that venue is proper in the State Court of DeKalb County.

                                                                14.

                     Admit that you were served with a copy of the Summons and Complaint.

                                                                15.

                     Admit that no person not a party to this lawsuit was at fault in the subject collision.




                                             FIRST INTERROGATORIES

                     You are required to answer the following Interrogatories and to serve a copy of your

             answers on the attorneys for the Plaintiff within forty-five (45) days from the date of service as

             provided by law.

                     In answering the following Interrogatories, you are requested to give full and complete

             answers based upon all knowledge of you and your agents, employees, servants, representatives,

             investigators, and others who have obtained information on your behalf.

                     These Interrogatories shall be deemed continuing in accordance with the Georgia Civil

             Practice Act so as to require supplemental responses if you or your attorneys or agents obtain further

             information between the time the responses are served and the time of trial. Any supplemental

             responses are to be served upon counsel for Plaintiff within thirty (30) days from receipt of such

             additional information, but not later than the time of trial.




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                    When used in these interrogatories, the term "incident" specifically refers to the crash

             which occurred on or about January 6, 2020, at approximately 8:05 a.m. on White Mills Road, at

             or near its intersection with Habersham Drive in the County of DeKalb, involving the Plaintiff and

             Defendant Peak and which forms the basis of the Complaint filed by the Plaintiff.

                                                               1.

                    Please state your full name, marital status (and spouse's full name), present street address

             and telephone number, date of birth and social security number.

                                                                2.

                    At the time of the collision which is the subject of this lawsuit, were you acting in the course

             and scope of your employment for any employer? If so, identify said employer.

                                                               3.

                    Please list the names and addresses of any relatives you have in the county in which this

             action is pending or any county to which you contend this action must be transferred to for trial.

                                                               4.

                    State the purpose, point and time of beginning, destination, and the length of time and place

             of all stops of the trip you were on at the time of the incident referred to in the complaint, and state

             the name and addresses of each passenger in the vehicle at the time of this incident.

                                                               5.

                    Describe in detail your version of how the subject accident occurred, including what you

             did to avoid the collision and giving all facts concerning the details of the events before and at the

             time of the accident which you believe contributed to the collision.

                                                                6.

                    Describe in detail each act or omission on the part of Plaintiff which you contend constituted

             negligence that was a contributing cause of the collision in question.




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                                                                7.

                     Describe in detail each act or omission on the part of any non-party which you contend

             constituted negligence that was a contributing cause of the collision in question.

                                                                8.

                     Did you consume any drugs, prescription or non-prescription, or alcoholic beverage of any

             type within twenty-four (24) hours prior to the subject accident? If so, please identify the drug or

             alcohol consumed, the quantity of such drug or alcohol consumed, the time of such consumption,

             and identify any individuals who have knowledge of such consumption.

                                                                9.

                     At the time of the collision, were you suffering from any physical or mental condition,

             disability or sickness, and if so, please state:

                     (a)     The type and manner of the condition, disability or sickness;

                     (b)     The date of the onset of the condition, disability or sickness; and

                     (c)     The identity of each medical practitioner who has treated you for such condition,

                             disability or sickness.

                                                                10.

                     Do you wear glasses or contact lenses? If so, state:

                     (a)     Who prescribed your glasses or contacts;

                     (b)     When your glasses or contacts were prescribed; and

                     (c)     When and by whom your eyes were last examined.

                                                                11.

                     Please specify the time, place and substance of any conversation which you had, or which

             any person in your presence had, at the scene of the accident about the manner in which it

             happened; and if you contend that any admissions respecting the issues in this suit were made in




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             those conversations please set forth the substance of each such admission, the names and addresses

             of each person making the admission or admissions, and the names and addresses of all persons

             present when the admission or admissions were made.

                                                            12.

                    What are the names, addresses, home telephone numbers, places of employment and

             present whereabouts of all witnesses known to you who saw or claim they saw all or any part of

             the occurrence complained of in this action?

                                                            13.

                    What are the names, addresses, home telephone numbers, places of employment and

             present whereabouts of all witnesses known to you who arrived at the scene of the occurrence

             complained of in this action immediately or shortly after its occurrence?

                                                            14.

                    What are the names, addresses, home telephone numbers, places of employment and

             present whereabouts of all persons known to you who have knowledge of relevant information,

             facts or circumstances in this case?

                                                            15.

                    State the name and address of each person including this Defendant from whom any

             statement(s) in any form, whether written or oral, has been obtained with regard to the incident

             and state the name and address of the person who has possession, custody or control of any such

             statement.

                                                            16.

                    Identify all photographs taken of any person or thing in connection with the collision. With

             respect to each such photograph, state:

                    (a)     The name and address of the person who took the photograph;




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                     (b)     What is depicted in the photograph; and

                     (c)     The name and address of the person now having custody or possession of the negative

                             of said photograph and of the positive prints thereof.

                                                               17.

                     List the name and address of all persons, corporations or entities who were registered title

             owners or who had any legal or equitable interest in the motor vehicle this Defendant was driving

             at the time of the incident and any and all automobiles owned by this Defendant at the time of this

             incident.

                                                               18.

                     Describe fully the extent to which any mechanical problems with your vehicle, the

             condition of the weather, the condition of the highway, the occupants of your vehicle or any other

             external factor or factors influenced, contributed or led to the incident made the basis of this action.

                                                               19.

                     Did you or any occupant in your vehicle own a mobile telephone, or have one in your

             possession, on January 6, 2020? If so, please identify the name in which the telephone was registered,

             the telephone number, the provider of services for that telephone and state if you were talking, texting,

             emailing or otherwise using that telephone at the time of the subject collision.

                                                               20.

                     Were you charged with a violation of any law, ordinance or crime in connection with the

             collision? If so, for each such charge, please state:

                     (a)     A complete description of the charge;

                     (b)     The name and address of the court before which the charge was brought;

                     (c)     What plea you entered to the charge; and

                     (d)     The ultimate disposition of the charge.




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                                                                21.

                     Have you ever been in a prior or subsequent accident of any type where property damage

             or personal injury was sustained? If so, please describe each such occurrence, including but not

             limited to, the type of accident, the date, the people involved and location thereof, and the type of

             damage or injury.

                                                                22.

                     Have you ever been involved in any other legal action, either as a Plaintiff or a Defendant? If

             so, state the date and place of each such lawsuit, giving the name of the court, the names of the other

             parties involved, and the names of the attorneys representing each party.

                                                                23.

                     Have you ever been arrested, pled guilty, pled nolo (no contest) or been convicted of any

             felony or other crime involving moral turpitude? If so, please state the offense alleged, the warrant,

             indictment or case number, the state, county and court involved, the date of the final order, and the

             outcome (sentence, fine, period of probation) from each such charge.

                                                                24.

                     Have you ever been charged or convicted of the violation of any traffic law or ordinance? If

             so, with respect to each such violation, please state:

                     (a)     A complete description of the charge;

                     (b)     The date of the incident on which the charge was based;

                     (c)     The name and address of the court before which the charge was brought;

                     (d)     What plea you entered to the charge; and

                     (e)     The ultimate disposition of the charge.




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                                                              25.

                      Please identify all policies of insurance providing coverage benefits of any type with regard

             to the vehicle in which you were driving at the time of the incident or with regard to any vehicle

             owned by you at the time of the incident or with regard to any policy for which you have presented

             any claim for payment of any coverage benefits or any policy of homeowner’s and/or renter’s

             insurance, “umbrella”, or excess coverage, or any type of liability policy or other type of policy of

             insurance by or through which you were or might be insured or covered in any manner for any

             claim arising out of the incident which is the subject of this lawsuit by providing the following

             information:

                      (a)    The name and address of the company issuing the policy;

                      (b)    The policy number;

                      (c)    The types of coverage and limits of coverage provided thereby;

                      (d)    The amount of any claim or demand made by you for payment of coverage benefits;

                             and

                      (e)    The type of coverage benefit demanded.

                                                              26.

                      For each policy of insurance identified in response to the preceding interrogatories, please

             state:

                      (a)    Whether any such company has denied insurance coverage;

                      (b)    Whether any such insurance company is defending under a reservation of rights letter

                             or agreement; and

                      (c)    Whether, to your knowledge, there are any coverage questions regarding any such

                             policy mentioned above.




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                                                               27.

                     For each person you intend to call as an expert witness at the trial of the above-styled matter,

             please state the following:

                     (a)     His or her name, address and telephone number;

                     (b)     His or her qualifications as an expert;

                     (c)     The subject matter to which said person is expected to testify;

                     (d)     The substance of the facts and opinions to which such person is expected to testify;

                             and

                     (e)     A summary of the grounds for each opinion.

                                                               28.

                     Please state the names, addresses and the telephone numbers of each individual who is not

             an expert witness but who has knowledge with respect to the issues in this suit and who may be

             called to testify on behalf of this Defendant.

                                                               29.

                     Please identify all documents in your possession, custody or control which relate to the subject

             matter of this action.

                                                               30.

                     If you denied any of the foregoing Request for Admissions, for each admission you denied

             or any portion thereof, please give and state each fact upon which you base your denial and provide

             the name, address and phone number of all persons having knowledge of these facts and indicate

             which facts are supported by which person or persons.




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                                                              31.

                     If, in responding to the foregoing Request for Admissions, you could not answer the

             admission for lack of sufficient information, please describe all inquiries made by you to attempt

             to answer the request.

                                                              32.

                     State specifically all facts which you contend support the defenses set forth in this

             Defendant’s answer including, but not limited to, defenses based on lack of jurisdiction of the

             subject matter, lack of jurisdiction of the person, improper venue, insufficiency of process,

             insufficiency of service of process, failure to state a claim upon which relief can be granted, failure

             to join a party under O.C.G.A. §9-11-19, failure to correctly name a Defendant, or failure to sue a

             real party in interest.




                                   REQUEST FOR PRODUCTION OF DOCUMENTS

                     You are required to produce the documents requested herein and to permit the Plaintiff, or

             someone acting on their behalf to inspect them and copy such of them as they may desire, within

             forty-five (45) days from the date of service as provided by law. You may produce such documents

             by mailing copies of same to the undersigned at the office of Kenneth S. Nugent, P.C., 4227

             Pleasant Hill Road, Building 11, Suite 300, Duluth, Georgia 30096. YOU ARE FURTHER

             NOTICED TO PRODUCE THE DOCUMENTS AT ANY DEPOSITION, HEARING OR TRIAL

             OF THIS MATTER PURSUANT TO O.C.G.A. § 24-10-26.

                     This Request for the Production of Documents and other things shall be deemed continuing

             so as to require further and supplemental production of any and all documents and other things learned




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             of or received after the time of compliance herewith, the production of which would otherwise have

             been required.

                    The term "documents" is intended in the broad and literal sense, and means any and all

             forms of written, typed, printed, recorded, graphic, or computer matter, however produced,

             processed or reproduced, of any kind and description and whether an original, master, duplicate or

             copy, including but not limited to agreements, amendments, analysis, appointment books, bank

             checks, bills, canceled checks, communications (including inter-office and intra-office), corporate

             records, correspondence, drafts, drawings, films, letters, lists, memoranda, microfiche, microfilm,

             newspapers, notebooks, notes, orders, photographs, sound recordings, videotapes, things similar

             to any of the foregoing, and notes, transcriptions or sound recordings of any type of personal or

             telephone conversations, and all other physical things containing information, including

             preliminary drafts of and marginal or other notes, notations or comments appearing on any

             document, however denominated or described.

                    If you dispute the genuineness of any documents produced in response to this Request for

             Production of Documents, please provide information sufficient to locate and obtain the original

             of such document.


                                                              1.

                    Please produce copies of all drivers licenses you now possess or that you did possess at the

             time of the subject incident.

                                                              2.

                    Please produce any and all documents which support or illustrate your version of the

             incident as provided in your response to Interrogatory 5 of Plaintiff’s First Interrogatories to you.

                                                              3.

                    Please produce any documents evidencing the reason you were traveling in the vehicle you




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             were driving at the time of the subject occurrence.

                                                               4.

                     Please produce any documents showing the route or directions you planned to take or follow

             had the collision not occurred.

                                                               5.

                     Please produce any books, documents or other tangible things evidencing any facts or

             circumstances upon which your defenses to the Plaintiff’s allegations of negligence, causation and

             damages are based, or upon which you rely to demonstrate and support relevant facts pertaining to

             the allegations contained in Plaintiff’s Complaint and your Answer thereto.

                                                               6.

                     Please produce any and all documents which support your response to Interrogatories 9

             and 10 of Plaintiff’s First Interrogatories to you.

                                                               7.

                     Please produce any and all written or recorded statements made by any witness, party or

             other person having relevant information or knowledge or claiming to have relevant information

             or knowledge of any fact or circumstance pertaining to the incident described in the Complaint

             including but not limited to any such statements taken by any insurance adjuster or legal

             representative. If you claim any privilege as to any such statements, please state the nature of the

             privilege and the date and substance of each such statement.

                                                               8.

                     Please produce any and all correspondence between the parties in connection with the incident

             giving rise to the present lawsuit.

                                                               9.

                     Please produce any and all photographs, video recordings, drawings, diagrams and/or




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             illustrations of any person, place or thing related to the accident which gives rise to the present lawsuit,

             including but not limited to, any photographs or recordings of any of the vehicles taken after the

             incident giving rise to the present lawsuit, and any photographs or recordings of the scene of the

             occurrence of the collision.

                                                                 10.

                     Please produce any and all documents which disclose the name and address of any person

             or persons who were the registered title owners or who had any legal or equitable interest in the

             motor vehicle that you were driving on date of the incident described in the Complaint.

                                                                 11.

                     Please produce any and all repair bills or estimates of damage for the vehicle involved in the

             collision which were made as a result of the collision forming the subject matter of Plaintiffs’

             Complaint.

                                                                 12.

                     Please produce any and all medical records or medical information concerning Plaintiff which

             are in your possession, custody or control.

                                                                 13.

                     Please produce any citations you received and any disposition of such citations as a result of

             the motor vehicle accident complained of in Plaintiff’s Complaint.

                                                                 14.

                     Please produce the transcript of any judicial or quasi-judicial hearing in connection with the

             subject occurrence.

                                                                 15.

                     Please produce a copy of any accident report of any other vehicular accident in which you

             have been involved, exclusive of the accident giving rise to the present lawsuit.




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                     Case 1:21-cv-04405-SDG Document 1-1 Filed 10/22/21 Page 63 of 65



                                                               16.

                     Please produce a copy of any civil complaint in which you have been named as a party other

             than the lawsuit herein.

                                                               17.

                     Please produce copies of all insurance policies that are identified in your responses to

             Plaintiff’s First Interrogatories.

                                                               18.

                     Please produce a declaration page for each and every insurance policy which could possibly

             provide coverage in relation to this incident.

                                                               19.

                     Please produce any and all correspondence or other documents whereby any insurer has

             reserved rights as to coverage or has denied coverage to you, in whole or in part, in connection

             with the incident described in the Complaint.

                                                               20.

                     Please produce any and all documents and tangible items, including but not limited to, reports,

             memoranda, paper, notes, studies, photographs, videotapes, graphs, charts, tabulations, analysis,

             summaries, data sheets, statistical or information accumulations, data processing cards or worksheets

             and computer-generated documents, including drafts or preliminary revisions of any of the above,

             prepared in connection with this litigation by or under the direction or supervision of any witness

             whom you expect to call as an expert witness at the trial of this matter.

                                                               21.

                     Please produce any Event Data Recorder for the vehicle Defendant was driving at the time of

             the subject incident.




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                                                              22.

                     Please produce any data or printout from any on-board telematics device, dash cam or other

             recording device in place for the vehicle Defendant was driving at the time of the subject accident,

             i.e., Snapshot, Drivewise, RightTrack, OnStar or any other device tracking, monitoring or

             recording vehicle usage.

                                                              23.

                     Please produce all other documents referred to or used in the preparation of your responses to

             Plaintiff’s First Interrogatories.

                     Respectfully submitted this 10th day of September, 2021.

                                                                    KENNETH S. NUGENT, P.C.

                                                                     /s/ Ryan M. Horn
                                                                    Ryan M. Horn
             4227 Pleasant Hill Road                                Georgia Bar No. 794788
             Building 11, Suite 300                                 Jan P. Cohen
             Duluth, GA 30096                                       Georgia Bar No. 174337
             T: (770) 495-6688                                      Attorneys for Plaintiff
             F: (770) 495-6787
             rhorn@attorneykennugent.com
             jcohen@attorneykennugent.com

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                   I have this day served the defendant                                                                                                                                                                                                                 by leaving a

       9           copy of the action and summons at his most notorious place of abode in this County.
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                   Delivered same into hands of                                                                                                                                                                                                  described as follows:
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                   defendant.



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       E           I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises designated in said
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       3 D         afﬁdavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an envelope properly addressed to the
                   defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
       5
                   place stated in the summons.
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